          Case 3:24-cv-00486-RLB            Document 1         06/13/24     Page 1 of 16




                            UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF LOUISIANA


JOHNELL WILLIAMS, INDIVIDUALLY      *
AND ON BEHALF OF THE ESTATE OF      *
JOHARRI WALKER                      *
                                    * CIVIL ACTION NO. 3:24-cv-486
VERSUS                              *
                                    *
LOUISIANA DEPARTMENT OF PUBLIC      *
SAFETY AND CORRECTIONS,             *
JAMES M. LEBLANC, IN HIS INDIVIDUAL * DISTRICT JUDGE:
AND OFFICIAL CAPACITY AS            *
SECRETARY OF THE DEPARTMENT         *
OF PUBLIC SAFETY AND CORRECTIONS *
TIMOTHY HOOPER, IN HIS INDIVIDUAL *
AND OFFICIAL CAPACITY AS WARDEN     * MAGISTRATE JUDGE:
OF LOUISIANA STATE PENITENTIARY,    *
STATE OF LOUISIANA, CORRECTIONAL *
OFFICER JOHN DOE, INMATE JOHN DOE, *
LOUISIANA OFFICE OF RISK            *
MANAGEMENT and ABC INSURANCE CO. *
 ***************************************************

                                          COMPLAINT

       NOW INTO COURT, though undersigned counsel, comes, Plaintiff, Johnell Williams

(“Mr. Williams” or “Plaintiff”), individually, and on behalf of the Estate of his deceased son,

Joharri Walker (“Mr. Walker” or “Decedent”), who respectfully represents the following:

                                 JURISDICTION AND VENUE

                                                  I.

       This Honorable Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 1331 and

1343, which provides district courts with original jurisdiction over civil actions that involve rights

arising under the United States Constitution and federal laws. This action is brought under, inter

alia, the Fourth, Eighth, and Fourteenth Amendments to the United States Constitution and 42

                                                  1
            Case 3:24-cv-00486-RLB          Document 1        06/13/24     Page 2 of 16




U.S.C §1983. Further, Plaintiff seeks compensatory damages, punitive damages, costs, and

attorney’s fees, pursuant to 42 U.S.C. § 1988, to redress Mr. Walker’s deprivation of rights,

privileges, and immunities guaranteed to him by the Constitution and statutory provisions.

                                                 II.

        This Honorable Court has Federal Question Jurisdiction over the Plaintiff’s federal-law

claims, pursuant to 28 U.S.C. §§ 1331 and 1343(a)(3). In addition, Plaintiff’s state-law claims are

related to these federal claims and form a part of the same case or controversy. Thus, this

Honorable Court has supplemental jurisdiction over Plaintiff’s state-law claims, pursuant to 28

U.S.C. §1367(a).

                                                III.

        Venue is proper in Honorable Court because the causes of action asserted herein occurred

within the Eastern District of Louisiana; and, all Defendants worked and/or reside within this

District.

                                             PARTIES

                                                 IV.

        A.      Plaintiff, JOHNELL WILLIAMS (“Mr. Williams”), is a person of the full age of
                majority and a resident of and domiciled in the Parish of Jefferson, State of
                Louisiana. He is the father of the Decedent, Joharri Walker, suing in his individual
                capacity, and as Administrator of Joharri Walker’s Estate.

        B.      Made Defendants herein are:

                1. LOUISIANA DEPARTMENT OF PUBLIC SAFETY AND
                   CORRECTIONS (“DPSC”), an agency of the State of Louisiana, responsible
                   for the operation and management of the Louisiana State Penitentiary (“LSP”
                   or “ANGOLA”);

                2.   JAMES M. LEBLANC (“Mr. LeBlanc”), a person of the full age of majority
                     who, upon information and belief, is a resident of and domiciled in East Baton
                     Rouge Parish, State of Louisiana, and who at all material times was acting



                                                  2
Case 3:24-cv-00486-RLB          Document 1         06/13/24      Page 3 of 16




       individually, and in the course and scope of his official capacity as Secretary of
       DPSC;

    3. TIMOTHY HOOPER (“Mr. Hooper”), a person of the full age of majority,
       who is a resident of and domiciled in West Feliciana Parish, State of Louisiana,
       and who at all material times was acting individually, and in the course and
       scope of his official capacity as Warden of LSP;

    4. STATE OF LOUISIANA (“The State”), which, through its agencies and
       officials, is responsible for the oversight and funding of LSP, to the extent that
       it has waived sovereign immunity under Article XII, Section 10 of the Louisiana
       Constitution and other applicable laws;

    5. CORRECTIONAL OFFICER JOHN DOE, who upon information and
       belief, is a person of the full age of majority, who is a resident of and domiciled
       in West Feliciana Parish, State of Louisiana, and who at all material times, was
       acting in his individual capacity and his official capacity as an employee of
       DPSC. Said Defendant’s precise identity and location are unknown to Plaintiff
       at this time; thus, Defendant is being sued under the foregoing fictitious name.

    6. INMATE JOHN DOE, who upon information and belief, is a person of the
       full age of majority and a resident of and domiciled in West Feliciana Parish,
       State of Louisiana, and who at all material times, was an inmate housed at LSP,
       where Mr. Walker was housed and where he died. Upon information and belief,
       Inmate John Doe contributed to the untimely death of Joharri Walker. Said
       Defendant’s precise identity and location are unknown to Plaintiff at this time;
       thus, Defendant is being sued under the foregoing fictitious name.

    7. LOUISIANA OFFICE OF RISK MANAGEMENT (“ORM”), the state
       entity responsible for managing the self-insurance program for state agencies,
       including DPSC and LSP, and which provided coverage for Defendants,
       JAMES M. LEBLANC, in his individual and official capacity as secretary of
       DPSC and TIMOTHY HOOPER, in his individual and official capacity as
       warden of LSP and/or CORRECTIONAL OFFICER JOHN DOE, for the
       type of liability alleged herein;

    8. ABC INSURANCE COMPANY (“ABC Insurance”), an unknown foreign or
       domestic insurance company, authorized to do and doing business in the state
       of Louisiana, which, upon information and belief at all times material hereto,
       was the liability insurer, which issued a policy(ies) of insurance to Defendants,
       JAMES M. LEBLANC, in his individual and official capacity as secretary of
       DPSC, TIMOTHY HOOPER, in his individual and official capacity as
       warden of LSP and/or CORRECTIONAL OFFICER JOHN DOE, which
       policy(ies) was/were in full force and effect, and insured these Defendants for
       the type of liability alleged herein.



                                      3
          Case 3:24-cv-00486-RLB             Document 1        06/13/24     Page 4 of 16




                              JOINT AND SEVERAL LIABILITY

                                                  V.

       Defendants herein are liable and indebted unto Plaintiff, jointly, severally, and in solido for

such damages as are reasonable in the premises, together with legal interest thereon from date of

judicial demand, until paid, all costs of these proceedings, and for any and all other relief provided

for in law or in equity, for the following, to-wit:


                                     BACKGROUND FACTS

                                                  VI.

       On or about June 14, 2023, Decedent, Joharri Walker, while in the DPSC’s and LSP’s

custody, suffered a physical event, which caused him to lose consciousness and become

unresponsive.

                                                 VII.

       Upon information and belief, INMATE JOHN DOE took actions, which contributed to

Mr. Walker’s unresponsiveness and ultimate death.

                                                 VIII.

       Upon information and belief, CORRECTIONAL OFFICER JOHN DOE failed to

properly supervise inmates, including Mr. Walker, and INMATE JOHN DOE.                       Further,

Defendants, CORRECTIONAL OFFICER JOHN DOE, MR. LEBLANC, in his individual

and official capacity as Secretary of DPSC, and MR. HOOPER, in his individual and official

capacity as warden of LSP, failed to properly monitor and ensure the appropriate custody, control,

and care of the inmates. As such, Decedent, Joharri Walker, ultimately died due to the negligent

acts and/or omissions of Defendants, INMATE JOHN DOE, CORRECTIONAL OFFICER



                                                      4
          Case 3:24-cv-00486-RLB            Document 1         06/13/24     Page 5 of 16




JOHN DOE, MR. LEBLANC, in his individual and official capacity as Secretary of DPSC, and

MR. HOOPER, in his individual and official capacity as warden of LSP.

                                                IX.

       Joharri Walker was not provided the necessary emergency medical attention by

Defendants, CORRECTIONAL OFFICER JOHN DOE, MR. LEBLANC, in his individual

and official capacity as Secretary of DPSC, and MR. HOOPER, in his individual and official

capacity as warden of LSP.

                                                 X.

       Defendants, CORRECTIONAL OFFICER JOHN DOE, MR. LEBLANC, in his

individual and official capacity as Secretary of DPSC, and MR. HOOPER, in his individual and

official capacity as warden of LSP, had a duty to provide staff to properly monitor, supervise,

protect, and ensure the health and safety of the inmates in their custody, care, and control.

                                                XI.

       Defendants, MR. LEBLANC, in his individual and official capacity as Secretary of

DPSC, and MR. HOOPER, in his individual and official capacity as warden of LSP, have a

history of failing to perform that duty by negligently hiring improperly trained staff, and failing

sufficiently to train and monitor the performance of its staff members, who are responsible for

carrying out that duty.

                                                XII.

       Defendants’ neglect in fulfilling their responsibilities as custodians of all inmates,

(including Jaharri Walker and inmate John Doe), and their blatant disregard for the inmates’ safety,

care, health, and overall conditions, directly contributed to the fatal injuries Joharri Walker

sustained, which lead to his untimely and preventable death.



                                                 5
           Case 3:24-cv-00486-RLB                 Document 1           06/13/24       Page 6 of 16




                                                      XIII.

         As a result of these Constitutional violations of Mr. Walker’s constitutional rights, and the

injuries and damages that he sustained, Plaintiff seeks compensation as set forth more specifically

in the section of this Complaint, entitled “Damages.”


                                                     DUTY

                                                      XIV.

           Under Louisiana law, every person has a duty to exercise reasonable care and

    prudence to avoid causing damage to others. 1 Accordingly, Defendants are responsible for

    the damage occasioned by not just their actions, but their negligence, imprudence, or want of

    skill. 2 As such, all Defendants owed Mr. Walker a duty not to cause him any harm. In

    accordance with the Erie Doctrine, 3 federal courts sitting in, inter alia, supplemental

    jurisdiction must apply state substantive law. Therefore, this Court must apply Louisiana’s

    state law to determine the Defendants’ duties and liabilities in this case.


                                            BREACH OF DUTY

                                                       XV.

         It is expressly alleged that all of the above-named Defendants breached a duty owed to Mr.

Walker by failing to exercise the reasonable standard of care and prudence required to avoid

causing his injuries, and ultimate untimely death.




1
         See La. Civ. Code Ann. Art. 2315 (West 2024).
2
         See La. Civ. Code Ann. Art. 2316 (West 2024).
3
         See Erie R. Co. v. Tompkins, 304 U.S. 64, 58 S. Ct. 817; 82 L. Ed. 1188 (1938).

                                                         6
         Case 3:24-cv-00486-RLB            Document 1        06/13/24     Page 7 of 16




                      THEORIES OF RECOVERY AND CAUSATION

 FAILURE TO PROVIDE INMATES WITH APPROPRIATE PROTECTION FROM
HARM BY DEFENDANTS, INMATE JOHN DOE, CORRECTIONAL OFFICER JOHN
 DOE, JAMES M. LE BLANC, in his individual and official capacity as Secretary of the
Louisiana Department of Public Safety and Corrections, and TIMOTHY HOOPER, in his
       individual and official capacity as Warden of Louisiana State Penitentiary
                                 Count I – 42 U.S.C. §1983

                                              XVI.

       All Defendants are answerable for their negligent, and/or reckless actions, as well as their

failure to exercise reasonable care to prevent this incident. Defendants had a duty to properly,

safely, and adequately provide protection, supervision, care, protection, and assistance to inmates

while in DPSC’s and LSP’s custody in its state penitentiary, Angola.

                                              XVII.

       As the on-duty officer at the time of the incident, CORRECTIONAL OFFICER JOHN

DOE was responsible for the safe and adequate supervision, care, protection, and assistance of the

inmates while they were in DPSC’s and LSP’s custody.

                                             XVIII.

       Defendant, CORRECTIONAL OFFICER JOHN DOE failed to act as a reasonable

officer should have in the same circumstances. Specifically, acting within the course and scope of

his employment with Defendants (who also are liable by virtue of the Respondeat Superior

doctrine), CORRECTIONAL OFFICER JOHN DOE failed to provide proper supervision, care,

protection, and assistance to the inmates while they were in DPSC’s and LSP’s custody.




                                                7
          Case 3:24-cv-00486-RLB           Document 1       06/13/24     Page 8 of 16




                                              XIX.

       At the time that CORRECTIONAL OFFICER JOHN DOE was supposed to be

supervising inmates at his assigned post, Mr. Walker suffered an incident and became

unresponsive while under CORRECTIONAL OFFICER JOHN DOE’s supervision.

                                              XX.

       Mr. Joharri Walker remained unresponsive for an extended period of time, causing a great

delay in the necessary emergency medical attention.

                                              XXI.

       Had Defendants, CORRECTIONAL OFFICER JOHN DOE, MR. LEBLANC, in his

individual and official capacity as Secretary of DPSC, and MR. HOOPER, in his individual and

official capacity as warden of LSP, sufficiently performed their duty to supervise, care for, and

protect Mr. Walker, they would have been in position to see, supervise, and/or monitor his actions

and condition and seek the appropriate assistance in a timely manner.

                                             XXII.

       As a result of the negligent acts and/or omissions of Defendants, CORRECTIONAL

OFFICER JOHN DOE, MR. LEBLANC, in his individual and official capacity as Secretary of

DPSC, and MR. HOOPER, in his individual and official capacity as warden of LSP, Mr. Walker

suffered substantial injuries and died.

                                             XXIII.

       Defendants, CORRECTIONAL OFFICER JOHN DOE, MR. LEBLANC, in his

individual and official capacity as Secretary of DPSC, and MR. HOOPER, in his individual and

official capacity as warden of LSP, breached their duty to provide proper and safe protection,




                                                8
         Case 3:24-cv-00486-RLB            Document 1        06/13/24     Page 9 of 16




supervision, care, and assistance to Mr. Joharri Walker, which was the proximate cause of the

violations of Mr. Walker’s Constitutional rights, and resultant injuries and damages.



           FAILURE TO TRAIN BY JAMES M. LE BLANC, in his individual
      and official capacity as Secretary of the Louisiana Department of Public Safety
        and Corrections, and TIMOTHY HOOPER, in his individual and official
                     capacity as Warden of Louisiana State Penitentiary
                                  Count II – 42 U.S.C. §1983

                                              XXIV.

       Prior to June 14, 2023, Defendants, MR. LEBLANC, in his individual and official

capacity as Secretary of DPSC, and MR. HOOPER, in his individual and official capacity as

warden of LSP, knew or should have known of CORRECTIONAL OFFICER JOHN DOE’s

neglect of his assigned duties as an Angola correctional officer.

                                              XXV.

       Defendant, CORRECTIONAL OFFICER JOHN DOE, was acting under color of state

law, pursuant to DPSC’s and LSP’s customs, practices and policies regarding supervision,

protection, custody, control, and care of the inmates at Angola.

                                              XXVI.

       Mr. Walker was deprived of rights and privileges secured to him by the U.S. Constitution

and by other laws of the United States, by Defendants, MR. LEBLANC, in his individual and

official capacity as Secretary of DPSC, and MR. HOOPER, in his individual and official capacity

as warden of LSP. Specifically, they failed to provide proper training, adequate supervision or

discipline to CORRECTIONAL OFFICER JOHN DOE, in violation of 42 U.S.C. §1983 and

related provisions of Federal law and in violation of the above-cited Constitutional provisions.




                                                 9
         Case 3:24-cv-00486-RLB            Document 1        06/13/24     Page 10 of 16




                                             XXVII.

       With respect to the claims that make up the basis of this lawsuit, Defendants, MR.

LEBLANC, in his individual and official capacity as Secretary of DPSC, and MR. HOOPER, in

his individual and official capacity as warden of LSP, failed to train its correctional officers on

how to safely and sufficiently supervise, monitor, protect, control, and care for the inmates in

DPSC’s and LSP’s custody.

                                             XXVIII.

       Defendants, MR. LEBLANC, in his individual and official capacity as Secretary of

DPSC, and MR. HOOPER, in his individual and official capacity as warden of LSP, developed

and maintained a policy of deficient training for their correctional officers regarding the

supervision, custody, protection, control, monitoring, and care of inmates while in DPSC’s and

LSP’s custody.

                                              XXIX.

       On information and belief, Defendants, MR. LEBLANC, in his individual and official

capacity as Secretary of DPSC, and MR. HOOPER, in his individual and official capacity as

warden of LSP, acting through their policies, practices and customs, and with deliberate, callous,

and conscious indifference to Mr. Walker’s Constitutional rights, failed to implement and/or

enforce the policies, procedures, and practices necessary to provide constitutionally adequate care,

protection, supervision, and assistance to Mr. Walker during his fight for his life. Further, they

implemented policies, procedures, and practices, which actually interfered with and/or prevented

Mr. Walker from receiving the adequate protection, monitoring, assistance, and care that he

deserved.



                                                10
         Case 3:24-cv-00486-RLB            Document 1        06/13/24      Page 11 of 16




                                               XXX.

       Defendants, MR. LEBLANC, in his individual and official capacity as Secretary of

DPSC, and MR. HOOPER, in his individual and official capacity as warden of LSP, failed to

property train and discipline their correctional officers, which was the proximate cause of the

violations of Mr. Walker’s Constitutional rights, and the resultant injuries and damages he

sustained.



   FAILURE TO ADEQUATELY SUPERVISE AND/OR DISCIPLINE BY TIMOTHY
      HOOPER, in his individual and official capacity as Warden of Louisiana State
    Penitentiary, and JAMES M. LE BLANC, in his individual and official capacity as
         Secretary of the Louisiana Department of Public Safety and Corrections
                                Count III – 42 U.S.C. §1983

                                              XXXI.

       Defendants, Defendants, MR. LEBLANC, in his individual and official capacity as

Secretary of DPSC, and MR. HOOPER, in his individual and official capacity as warden of LSP,

failed to supervise their subordinates and correctional officers to ensure that they did not act with

deliberate indifference by leaving their assigned posts, failing to properly monitor inmates, and

ignoring the conditions of inmates in DPSC’s and LSP’s custody. The Plaintiff was directly

harmed by Defendants’ failure to supervise because it caused the death of his son, Joharri Walker,

who was left unmonitored and untreated and/or received insufficient treatment and supervision.

                                              XXXII.

       At all material times, Defendants, MR. LEBLANC, in his individual and official capacity

as Secretary of DPSC, and MR. HOOPER, in his individual and official capacity as warden of

LSP, were aware of the duty to supervise and discipline their subordinates, correctional officers,

and employees/staff in order to ensure that they did not violate inmates’ rights. These Defendants



                                                 11
         Case 3:24-cv-00486-RLB            Document 1        06/13/24      Page 12 of 16




ignored that duty and acted negligently and with deliberate indifference and disregard for Joharri

Walker’s safety.

                                             XXXIII.

       The failure Defendants, MR. LEBLANC, in his individual and official capacity as

Secretary of DPSC, and MR. HOOPER, in his individual and official capacity as warden of LSP,

to adequately supervise and discipline its deputies, proximately caused the deprivation of Joharri

Walker’s Constitutional rights.

                                             XXXIV.

       As a direct and proximate result of the failure of Defendants, MR. LEBLANC, in his

individual and official capacity as Secretary of DPSC, and MR. HOOPER, in his individual and

official capacity as warden of LSP, to supervise and discipline its correctional officers, employees

and subordinates, Plaintiff has suffered damages. As a result of these Constitutional violations to

Mr. Walker and the injuries he sustained, Plaintiff seeks compensation as set forth more

specifically in the section of this Complaint entitled “Damages.”


                                     SURVIVAL ACTION

                                             XXXV.

       Plaintiff, Johnell Williams, is the representative for the Estate of Joharri Walker.

                                             XXXVI.

       Mr. Joharri Walker died as a result of Defendants’ negligent and wrongful conduct.

                                            XXXVII.

       Mr. Joharri Walker would have been entitled to bring this action against Defendants had

he survived.




                                                12
         Case 3:24-cv-00486-RLB              Document 1     06/13/24     Page 13 of 16




                                              XXXVIII.

        Mr. Walker’s right of action for the wrongful conduct against the Defendants survive in

favor of his heirs, legal representative, and his Estate.

                                               XXXIX.

        Defendants are liable to the Plaintiff for the loss of Mr. Joharri Walker’s life, pain and

suffering, and the violation of his civil rights.

                                       WRONGFUL DEATH

                                                    XL.

        Defendants’ wrongful conduct of failing to provide adequate supervision, care, custody,

control, protection, and assistance to Mr. Walker resulted in his untimely death. Thus, Defendants

are liable for damages.

                                             DAMAGES

                                                    XLI.

        At all material times, Defendant, LOUISIANA OFFICE OF RISK MANAGEMENT,

was the state entity responsible for managing the self-insurance program for state agencies,

including DPSC and LSP, which provided coverage for Defendants, Defendants, MR.

LEBLANC, in his individual and official capacity as Secretary of DPSC, and MR. HOOPER, in

his individual and official capacity as warden of LSP, and/or CORRECTIONAL OFFICER

JOHN DOE, for the type of liability alleged herein. Therefore, LOUISIANA OFFICE OF RISK

MANAGEMENT is liable for the damages caused by Defendants.

                                                    XLII.

        At all material times, Defendant ABC Insurance Company, issued a policy of liability

insurance to Defendants, MR. LEBLANC, in his individual and official capacity as Secretary of



                                                     13
         Case 3:24-cv-00486-RLB            Document 1         06/13/24      Page 14 of 16




DPSC, and MR. HOOPER, in his individual and official capacity as warden of LSP, and/or

CORRECTIONAL OFFICER JOHN DOE, which was in full force and effect at the time of

this incident made subject of this litigation. Therefore, ABC Insurance Company is liable for the

damages caused by Defendants.

                               COSTS AND ATTORNEY FEES

                                                XLIII.

       Plaintiff is entitled to an award of attorney’s fees and costs under 42 U.S.C. §1988(b). As

such, Plaintiff requests that this Honorable Court award costs and attorney’s fees incurred in

Complainant’s prosecution of this litigation.

                                                XLIV.

       Defendants’ acts and/or omissions were the direct and proximate cause of the following

injuries suffered by the Plaintiff and/or Decedent. As such, Plaintiff requests damages for each and

every injury outlined herein, in the following non-exclusive particulars:

       A. Mr. Joharri Walker’s pain and suffering prior to his death;

       B. Mr. Joharri Walker’s mental anguish and anxiety prior to his death;

       C. Mr. Joharri Walker’s funeral, burial, and other final expenses;

       D. Mr. Williams’s loss of love affection, society, consortium and services;

       E. Mr. Williams’s mental anguish and anxiety, past, present, and future;

       F. Mr. Williams’s emotional pain and suffering, past, present, and future;

       G. Mr. Williams’s loss of enjoyment of life;

       H. Mr. Williams’s loss of income;

       I. Pursuant to 42 U.S.C. §1988 and other applicable laws, Plaintiff should be awarded

           costs, reasonable attorney’s fees for the preparation and trial of this cause of action;



                                                 14
         Case 3:24-cv-00486-RLB             Document 1         06/13/24      Page 15 of 16




       J. Judicial interest; and,

       K. Any and all other damages which may or will be proven at the trial of this matter.


                                               JURY

                                                XLV.

       Plaintiff reserves the right for a trial by jury and pray for all general and equitable relief.


                                  RESERVATION OF RIGHTS

                                               XLVI.

       Plaintiff reserves the right to substitute his claims against Defendants for any minor,

unidentified heirs of Joharri Walker, upon their identity becoming known to him and/or any other

party to this Complaint.

                                     PRAYER FOR RELIEF

       WHEREFORE, premises considered, Plaintiff prays that a copy of this Complaint be

served upon the Defendants in the manner prescribed by law and that, after due proceedings are

had and after all legal delays, there be judgment in favor of Plaintiff and against Defendants jointly,

severally, and in solido in favor of Plaintiff for such damages as are reasonable in the premises,

together with legal interest thereon, from date of judicial demand until paid, for reasonable

attorney’s fees, for all costs of these proceedings and for all other further relief to which Plaintiff

may be entitled.




                    [SIGNATURE BLOCK APPEARS ON NEXT PAGE]




                                                  15
Case 3:24-cv-00486-RLB      Document 1     06/13/24   Page 16 of 16




                         RESPECTFULLY SUBMITTED:

                         WRIGHT GRAY HARRIS , LLC


                                                      _____________
                         DARYL A. GRAY, LA Bar No. 34225
                         ERIC A. WRIGHT, LA Bar No. 26149
                         JAMES “JIMMY” HARRIS, LA Bar No. 30995
                         201 St. Charles Avenue Suite 2710
                         New Orleans, LA 70170
                         Telephone: (504) 500-0000
                         Facsimile: (504) 324-0445
                         Daryl@wrightgray.com
                         Eric@wrightgray.com
                         Jimmy@wrightgray.com

                         ATTORNEYS FOR PLAINTIFF




                                 16
